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 1   MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
 2
     Sacramento, CA 95814
 3   (916) 201-4188
     Mike.Long.Law@msn.com
 4
     Attorney for ANTONIA BRASLEY
 5

 6                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                ) No. 16-cr-198 JAM
 8
                     Plaintiff,                   )
 9                                                ) STIPULATION AND [PROPOSED]
            v.                                    ) ORDER ADDING COUNSELING
10                                                ) TO THE SPECIAL CONDITIONS OF
                                                  ) RELEASE
11
                                                  )
12
     ANTONIA BRASLEY,                             ) Date:
                                                  ) Time:
13                   Defendant.                   ) Judge: Hon. Magistrate Edmund F. Brennan
     ===============================)
14

15          Ms. Brasley’s special conditions of pre-trial release are found in ECF document 14. The
16
     parties are requesting that the Court add the Special Condition set forth below. AUSA Hales and
17
     PTS Gaskins do not object to adding the new Special Condition.
18

19
            The undersigned parties hereby stipulate that the Court amend special condition #12: “You

20   must participate in a program of medical or psychiatric treatment, including treatment for drug or

21   alcohol dependency, as approved by the pretrial services officer. You must pay all or part of the
22
     costs of the counseling services based upon your ability to pay, as determined by the pretrial
23
     services officer.”
24

25
     Dated: March 29, 2017                               Respectfully submitted,
26
                                                         /s/ Michael D. Long
27                                                       MICHAEL D. LONG
                                                         Attorney for Antonia Brasley
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 1   Dated: March 29, 2017                                 PHILLIP A. TALBERT
                                                           Acting United States Attorney
 2

 3                                                         /s/ Christopher Hales
                                                           CHRISTOPHER HALES
 4                                                         Assistant U.S. Attorney
 5
                                    [PROPOSED] ORDER
 6
             GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
 7
             The Court adds Special Condition of Pre-Trial Release #12: “You must participate in a
 8
     program of medical or psychiatric treatment, including treatment for drug or alcohol dependency,
 9
     as approved by the pretrial services officer. You must pay all or part of the costs of the
10
     counseling services based upon your ability to pay, as determined by the pretrial services
11   officer.”
12
     Dated: March 29, 2017
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